   Case:18-06036-BKT13 Doc#:56 Filed:09/11/19 Entered:09/11/19 08:46:37                             Desc: Order
                         Granting No Oppo (Gen) Page 1 of 1
                              IN THE UNITED STATES BANKRUPTCY COURT
                                          District of Puerto Rico



IN RE:
                                                            Case No. 18−06036 BKT
RAMON L BARRETO GINORIO
aka RAMON BARRETO, aka RAMON L
BARRETO, aka RAMON LUIS BARRETO                             Chapter 13
GINORIO


xxx−xx−4006                                                 FILED & ENTERED ON 9/11/19

                        Debtor(s)



                                    ORDER GRANTING UNOPPOSED MOTION

This case is before the Court on the following motion: Motion requesting modification of stay to pursue loss
mitigation alternatives or refinance filed by the debtor, docket #45.

The motion having been duly notified, no replies or objections having been filed timely, the Court having reviewed
the same and good cause appearing thereof, the motion is hereby granted.
In San Juan, Puerto Rico, this Wednesday, September 11, 2019 .
